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VIA ECF                                                                May 4, 2022
Hon. Mark W. Pedersen
United States Magistrate Judge
100 State Street
Rochester, New York 14614

Re:    Garcia v. Lewis Tree Service, Inc. et al.
       Case No.: 6:21-cv-06393-EAW-MJP
       Letter Motion for Extension of Time to Join Parties/Amend Pleadings

This office represents Plaintiff in the above-referenced case. A Scheduling/Case Management
Order was entered by this Court following the Rule 16 Conference held with the parties last week
on April 27, 2022. Plaintiff writes to respectfully request a thirty (30) day enlargement of time
until Monday, June 6, 2022, to Join Parties/Amend Pleadings and provide Initial Disclosures to
Defendant’s counsel.

The undersigned had reached out to Defense counsel to respectfully request their consent. Defense
counsel consented to an extension to May 27, 2022, for the parties to produce Initial Disclosures.
However, Defense counsel denied their consent for an enlargement of time to Join Parties/Amend
Pleadings. Rather than providing a professional courtesy, Defendant pointed out that they plan to
oppose any such application.

Plaintiff submits that there have been no previous requests for an enlargement of time for this
deadline. The reason for the request is because Plaintiff was unable to reach his client this past
week in addition to the current back-to-back calendar and case obligations this week.

Given the foregoing circumstances, Plaintiff respectfully submits that good cause exists to grant
the requested enlargement of time. Rule 15(a) of the Federal Rules of Civil Procedure provides
that a court “should freely give leave [to amend] when justice so requires.” See Fed. R. Civ. P.
15(a)(2). Accordingly, Plaintiff submits that his instant letter motion be granted.

Plaintiff thanks this honorable Court for its time and attention to this case.

Dated: Forest Hills, New York
       May 4, 2022                             Respectfully submitted,

                                                       SHALOM LAW, PLLC

                                                       /s/ Jonathan Shalom
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